                                              Case 8:20-bk-03610-CPM           Doc 30     Filed 04/22/22           Page 1 of 7

                                                                               Form 1                                                                               Page: 1

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         8:20-BK-03610 CPM                                                   Trustee: (290520)           DAWN A. CARAPELLA
Case Name:           CFRA Tri-Cities, LLC                                                Filed (f) or Converted (c): 08/07/20 (c)
                                                                                         §341(a) Meeting Date:       09/10/20
Period Ending:       03/31/22                                                            Claims Bar Date:            07/15/20

                                1                                     2                         3                           4                  5                    6

                       Asset Description                           Petition/            Estimated Net Value              Property         Sale/Funds           Asset Fully
            (Scheduled And Unscheduled (u) Property)             Unscheduled       (Value Determined By Trustee,        Abandoned         Received by       Administered (FA)/
                                                                    Values            Less Liens, Exemptions,       OA=§554(a) abandon.    the Estate        Gross Value of
Ref. #                                                                                    and Other Costs)                                                  Remaining Assets

 1       Wells Fargo Checking 3510                                    6,927.00                       6,927.00                                      917.67                  FA
          6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt 112])

 2       Wells Fargo Checking 3536                                        458.00                      458.00                                         0.00                  FA
          6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 112])

 3       Deposits - Prepaid Business Licenses                             143.00                      143.00                                         0.00                  FA
          6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 112])

 4       Deposits - Prepaid MICROS Contracts                          1,622.00                       1,622.00                                        0.00                  FA
          6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 112])

 5       Accounts Receivable - 90 days old or less                   32,641.00                      32,641.00                                        0.00                  FA
          6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 112])

 6       Office Equipment - fixed assets report                      Unknown                             0.00                                        0.00                  FA
          6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 112])

 7       Restaurant Equipment - fixed assets report                  Unknown                             0.00                                        0.00                  FA
          6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 112])

 8       Leases - See Sched. B, Item 55                              Unknown                             0.00                                        0.00                  FA
           6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 112])

                                                                                                                                          Printed: 04/22/2022 03:33 PM   V.20.40
                                              Case 8:20-bk-03610-CPM                Doc 30      Filed 04/22/22          Page 2 of 7

                                                                                    Form 1                                                                                 Page: 2

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         8:20-BK-03610 CPM                                                         Trustee: (290520)           DAWN A. CARAPELLA
Case Name:           CFRA Tri-Cities, LLC                                                      Filed (f) or Converted (c): 08/07/20 (c)
                                                                                               §341(a) Meeting Date:       09/10/20
Period Ending:       03/31/22                                                                  Claims Bar Date:            07/15/20

                                1                                           2                         3                          4                   5                     6

                       Asset Description                                Petition/            Estimated Net Value              Property          Sale/Funds           Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled       (Value Determined By Trustee,        Abandoned          Received by       Administered (FA)/
                                                                         Values            Less Liens, Exemptions,       OA=§554(a) abandon.     the Estate        Gross Value of
Ref. #                                                                                         and Other Costs)                                                   Remaining Assets

 9       Other Property of Any Kind Not Already Listed                      Unknown                           0.00                                        0.00                    FA
           6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 112])
         leasehold improvements $135,731 net book value
         remodels $330,898 net book value

 9       Assets          Totals (Excluding unknown values)                $41,791.00                   $41,791.00                                     $917.67                   $0.00


     Major Activities Affecting Case Closing:
              Case administratively consolidated with lead case, CFRA Holdings, LLC, Case No. 20-2608
              T investigating avoidable transfers
              See notes in lead case, CFRA Holdings, LLC, Case No. 20-03608;
              9/10/2020 - 341 meeting held and continued to 9/24/2020 @ 3:15 p.m.;
              9/24/2020 - 341 mtg. held and concluded;
              10/31/2020 - 3rd quarter 2020 tax returns mailed to TN Dept. of Labor for stores 4435 and 4440;
              10/31/2020 - 941 payroll reports mailt to IRS;
              1/18/2021 - Ltr. to NC Dept. of Commerce responding to inquiries re: former employees;
              7/26/2021 - Motion to Approve Settlement Agreement with Ashley G. Hay (re: Hay's claims against CFRA Tri-Cities, LLC re: employment discrimination and emotional
              distress claims and pre-petition lawsuit; settled with insurance carrier for $55,000 (Lead Case: 20-3608 Dkt. 352);
              2/7/2022 - CLAIMS REVIEWED; T objecting to Claim No. 7, 8, 9 and 11;
              2/7/2022 - Email to Camille Iurillo, counsel for Smartvision re: Claims 7, 8 and 9;
              2/7/2022 - Email to Claimant 11 re: priority wage claim;
              3/3/2022 - Smartvision filed in lead case of CFRA Holdings, LLC, Notice of Withdrawal of Claim Nos. 7, 8 and 9 in case of CFRA Tri-Cityies, LLC (See CFRA Holdings,
              LLC Dkt. 381)
              3/15/2022 - Notice of Withdrawal of Chapter 7 Trustee's Omnibus Objection to Smartvision Construction, LLC's Claim Nos. 34, 35 and 47 filed against the estate of
              CFRA Holdings, LLC and Claim Nos. 7, 8 and 9 filed against the Estate of CFRA Tri-Cities, LLC (Dkt. 383);


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                                            Case 8:20-bk-03610-CPM                Doc 30     Filed 04/22/22           Page 3 of 7

                                                                                  Form 1                                                                                   Page: 3

                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       8:20-BK-03610 CPM                                                         Trustee: (290520)           DAWN A. CARAPELLA
Case Name:         CFRA Tri-Cities, LLC                                                      Filed (f) or Converted (c): 08/07/20 (c)
                                                                                             §341(a) Meeting Date:       09/10/20
Period Ending:     03/31/22                                                                  Claims Bar Date:            07/15/20

                              1                                           2                        3                           4                   5                     6

                      Asset Description                               Petition/            Estimated Net Value              Property          Sale/Funds           Asset Fully
           (Scheduled And Unscheduled (u) Property)                 Unscheduled       (Value Determined By Trustee,        Abandoned          Received by       Administered (FA)/
                                                                       Values            Less Liens, Exemptions,       OA=§554(a) abandon.     the Estate        Gross Value of
Ref. #                                                                                       and Other Costs)                                                   Remaining Assets

            3/23/2022 - Order (A) Sustaining Omnibus Objection to Certain Claims filed Against the Estate of CFRA Holdings, LLC; and (B) Granting Motion to Allow Claims
            Against the Estates of CFRA, LLC or CFRA Tri-Cities, LLC (CFRA Holdings, LLC Dkt. 388);
            4/1/2022 - Order sustaining Objection and disallowing Claim No. 10 against estate of CFRA Tri-Cities, LLC (Dkt. 393);

    Initial Projected Date Of Final Report (TFR): May 31, 2021                           Current Projected Date Of Final Report (TFR): June 30, 2022




                                                                                                                                               Printed: 04/22/2022 03:33 PM   V.20.40
                                               Case 8:20-bk-03610-CPM           Doc 30    Filed 04/22/22    Page 4 of 7

                                                                               Form 2                                                                                   Page: 1
                                                         Cash Receipts And Disbursements Record
Case Number:        8:20-BK-03610 CPM                                                            Trustee:         DAWN A. CARAPELLA (290520)
Case Name:          CFRA Tri-Cities, LLC                                                         Bank Name:       Metropolitan Commercial Bank
                                                                                                 Account:         ******7216 - Checking Account
Taxpayer ID #:      **-***2377                                                                   Blanket Bond:    $35,756,000.00 (per case limit)
Period Ending:      03/31/22                                                                     Separate Bond:   N/A

   1           2                           3                                     4                                      5                     6                     7
 Trans.     {Ref #} /                                                                                                Receipts          Disbursements          Checking
  Date      Check #            Paid To / Received From              Description of Transaction         T-Code           $                    $             Account Balance
10/13/21                  Transition Transfer Credit       Transition Transfer Credit                 9999-000              852.67                                       852.67
10/29/21                  Metropolitan Commercial Bank     Bank and Technology Services Fee           2600-000                                      5.00                 847.67
11/30/21                  Metropolitan Commercial Bank     Bank and Technology Services Fee           2600-000                                      5.00                 842.67
12/31/21                  Metropolitan Commercial Bank     Bank and Technology Services Fee           2600-000                                      5.00                 837.67
01/31/22                  Metropolitan Commercial Bank     Bank and Technology Services Fee           2600-000                                      5.00                 832.67
02/28/22                  Metropolitan Commercial Bank     Bank and Technology Services Fee           2600-000                                      5.00                 827.67
03/31/22                  Metropolitan Commercial Bank     Bank and Technology Services Fee           2600-000                                      5.00                 822.67
                                                                            ACCOUNT TOTALS                                  852.67                 30.00                $822.67
                                                                                Less: Bank Transfers                        852.67                  0.00
                                                                            Subtotal                                            0.00               30.00
                                                                                Less: Payments to Debtors                                           0.00
                                                                            NET Receipts / Disbursements                     $0.00                $30.00




  {} Asset reference(s)                                                                                                                  Printed: 04/22/2022 03:33 PM    V.20.40
                                                 Case 8:20-bk-03610-CPM         Doc 30    Filed 04/22/22    Page 5 of 7

                                                                               Form 2                                                                                  Page: 2
                                                         Cash Receipts And Disbursements Record
Case Number:         8:20-BK-03610 CPM                                                           Trustee:         DAWN A. CARAPELLA (290520)
Case Name:           CFRA Tri-Cities, LLC                                                        Bank Name:       Mechanics Bank
                                                                                                 Account:         ******2366 - Checking Account
Taxpayer ID #:       **-***2377                                                                  Blanket Bond:    $35,756,000.00 (per case limit)
Period Ending:       03/31/22                                                                    Separate Bond:   N/A

   1           2                           3                                     4                                      5                    6                     7
 Trans.     {Ref #} /                                                                                                Receipts         Disbursements          Checking
  Date      Check #            Paid To / Received From              Description of Transaction         T-Code           $                   $             Account Balance
09/21/20       {1}        CFRA Tri-Cities, LLC             Bank balance on day of conversion          1129-000              917.67                                      917.67
09/30/20                  Mechanics Bank                   Bank and Technology Services Fee           2600-000                                     5.00                 912.67
10/30/20                  Mechanics Bank                   Bank and Technology Services Fee           2600-000                                     5.00                 907.67
11/30/20                  Mechanics Bank                   Bank and Technology Services Fee           2600-000                                     5.00                 902.67
12/31/20                  Mechanics Bank                   Bank and Technology Services Fee           2600-000                                     5.00                 897.67
01/29/21                  Mechanics Bank                   Bank and Technology Services Fee           2600-000                                     5.00                 892.67
02/04/21                  Transition Transfer Debit        Transition Transfer Debit                  9999-000                                   892.67                   0.00
                                                                            ACCOUNT TOTALS                                   917.67              917.67                  $0.00
                                                                                Less: Bank Transfers                           0.00              892.67
                                                                            Subtotal                                         917.67               25.00
                                                                                Less: Payments to Debtors                                          0.00
                                                                            NET Receipts / Disbursements                    $917.67              $25.00




  {} Asset reference(s)                                                                                                                 Printed: 04/22/2022 03:33 PM    V.20.40
                                                 Case 8:20-bk-03610-CPM       Doc 30     Filed 04/22/22    Page 6 of 7

                                                                             Form 2                                                                                    Page: 3
                                                         Cash Receipts And Disbursements Record
Case Number:        8:20-BK-03610 CPM                                                           Trustee:         DAWN A. CARAPELLA (290520)
Case Name:          CFRA Tri-Cities, LLC                                                        Bank Name:       People's United Bank
                                                                                                Account:         ******4048 - Checking Account
Taxpayer ID #:      **-***2377                                                                  Blanket Bond:    $35,756,000.00 (per case limit)
Period Ending:      03/31/22                                                                    Separate Bond:   N/A

   1           2                         3                                     4                                       5                     6                     7
 Trans.     {Ref #} /                                                                                               Receipts          Disbursements          Checking
  Date      Check #            Paid To / Received From             Description of Transaction         T-Code           $                    $             Account Balance
02/04/21                  TRANSFER FROM DEPOSIT            TRANSFER FROM DEPOSIT SYSTEM              9999-000              892.67                                       892.67
                          SYSTEM ACCOUNT ******2572        ACCOUNT ******2572
02/26/21                  People's United Bank             Bank and Technology Services Fee          2600-000                                      5.00                 887.67
03/31/21                  People's United Bank             Bank and Technology Services Fee          2600-000                                      5.00                 882.67
04/30/21                  People's United Bank             Bank and Technology Services Fee          2600-000                                      5.00                 877.67
05/28/21                  People's United Bank             Bank and Technology Services Fee          2600-000                                      5.00                 872.67
06/30/21                  People's United Bank             Bank and Technology Services Fee          2600-000                                      5.00                 867.67
07/30/21                  People's United Bank             Bank and Technology Services Fee          2600-000                                      5.00                 862.67
08/31/21                  People's United Bank             Bank and Technology Services Fee          2600-000                                      5.00                 857.67
09/30/21                  People's United Bank             Bank and Technology Services Fee          2600-000                                      5.00                 852.67
10/13/21                  TRANSFER TO DEPOSIT SYSTEM       TRANSFER TO DEPOSIT SYSTEM                9999-000                                    852.67                   0.00
                          ACCOUNT ******2708               ACCOUNT ******2708
                                                                          ACCOUNT TOTALS                                   892.67                892.67                  $0.00
                                                                              Less: Bank Transfers                         892.67                852.67
                                                                          Subtotal                                             0.00               40.00
                                                                              Less: Payments to Debtors                                            0.00
                                                                          NET Receipts / Disbursements                      $0.00                $40.00




  {} Asset reference(s)                                                                                                                 Printed: 04/22/2022 03:33 PM    V.20.40
                                               Case 8:20-bk-03610-CPM     Doc 30     Filed 04/22/22      Page 7 of 7

                                                                         Form 2                                                                                     Page: 4
                                                      Cash Receipts And Disbursements Record
Case Number:       8:20-BK-03610 CPM                                                          Trustee:         DAWN A. CARAPELLA (290520)
Case Name:         CFRA Tri-Cities, LLC                                                       Bank Name:       People's United Bank
                                                                                              Account:         ******4048 - Checking Account
Taxpayer ID #:     **-***2377                                                                 Blanket Bond:    $35,756,000.00 (per case limit)
Period Ending:     03/31/22                                                                   Separate Bond:   N/A

  1           2                        3                                  4                                          5                    6                     7
Trans.     {Ref #} /                                                                                              Receipts         Disbursements          Checking
 Date      Check #         Paid To / Received From             Description of Transaction           T-Code           $                   $             Account Balance

                            Net Receipts :            917.67
                                                 ————————                                                             Net               Net                   Account
                                Net Estate :         $917.67          TOTAL - ALL ACCOUNTS                          Receipts       Disbursements              Balances
                                                                      Checking # ******7216                                 0.00               30.00                 822.67
                                                                      Checking # ******2366                               917.67               25.00                   0.00
                                                                      Checking # ******4048                                 0.00               40.00                   0.00

                                                                                                                         $917.67              $95.00                $822.67




 {} Asset reference(s)                                                                                                               Printed: 04/22/2022 03:33 PM    V.20.40
